
658 S.E.2d 271 (2008)
In the Matter of J.Z.M., R.O.M., R.D.M.
No. 366A07.
Supreme Court of North Carolina.
January 24, 2008.
Tyrone C. Wade, Charlotte, James E. Yeager, Jr., for Mecklenburg County DSS.
*272 Teresa M. Sprain, Raleigh, Sarah Motley, Charlotte, for Guardian ad Litem.
Matthew McKay, for GAL.
The following order has been entered on the motion filed on the 19th day of September 2007 by Respondent (Mother) to Strike Certain Portions of New Briefs filed by DSS and GAL:
"Motion Dismissed as moot by order of the Court in conference this the 24th day of January 2008."
